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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

US Commodity Futures Trading Commission,
et al.
                                                 Plaintiff,
v.                                                            Case No.: 1:15−cv−02881
                                                              Honorable John Robert
                                                              Blakey
Kraft Foods Group, Inc., et al.
                                                 Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 31, 2021:


        MINUTE entry before the Honorable John Robert Blakey: On 2/14/20, this Court
entered an Order [378] (Contempt Ruling), granting in part, and denying in part, Kraft's
motions for contempt, sanctions and other relief [315] [316]. As part of that Contempt
Ruling, this Court stated that based upon the "egregious misconduct by Plaintiff, this
Court grants in part Defendants' motions [315] and [316], and this Court shall issue
findings of fact and conclusions of law by separate order.&quot; [378]. As promised (prior
to the worldwide pandemic), this Court still intends to issue that overdue opinion (and do
so in the very near future) setting forth those written findings and the procedural history
leading up to the Contempt Ruling. In the interim, this Court now addresses two
subsequent motions filed by the parties after issuance of the Contempt Ruling: (1) Kraft's
agreed Motion to Withdraw [382], seeking permission to withdraw Kraft's prior motions
for contempt and sanctions (contingent upon the submission and final approval of a new
consent order); and (2) the CFTC's Motion for Relief from Order [384], seeking
reconsideration of the Contempt Ruling or, in the alternative, the addition of "certain
parameters to reflect changed circumstances." [384] at 1. After careful review by the
Court, these two motions are granted in part, and denied in part. As to Kraft's motion to
withdraw [382], that motion was filed on 3/4/20, after this Court had already entered its
Contempt Ruling on 2/14/20, granting in part and denying in part Kraft's motions for
contempt. Obviously, a party cannot withdraw a motion after a court rules upon it; thus,
Kraft's request to withdraw the motions is untimely. Nor would Kraft's intention to
possibly withdraw its contempt motions, even if timely, have affected or mooted this
Court's prior Contempt Ruling (or the underlying written findings) against the CFTC,
which could have all been issued sua sponte. There "can be no question that courts have
inherent power to enforce compliance with their lawful orders through civil contempt."
Ott v. City of Milwaukee, 682 F.3d 552, 555 (7th Cir. 2012) (quoting Shillitani v. United
States, 384 U.S. 364, 370 (1966)). Additionally, on its own terms, Kraft's agreed motion
to withdraw remains contingent upon this Court's final approval of a new consent order, a
draft copy of which the parties have shared with this Court, [382] at 1, but which is still
subject to possible revision and has not yet been entered. In fact, this Court has previously
stated that it would allow the parties to revisit the terms of the proposed consent order (if
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needed) after reviewing this Court's forthcoming written findings. [387] at 24. That said,
to the extent Kraft's motion [382] seeks reconsideration of this Court's Contempt Ruling,
as to the nature of the resulting sanctions flowing from the Contempt Ruling, this Court
grants that request, and the prospect of a new settlement between the parties will be
reflected in the forthcoming findings. Finally, the CFTC's motion for relief [384] is
granted in part, but only to the extent it (like Kraft) seeks, in the alternative, for this Court
to reflect in its findings the "changed circumstances" of a potential settlement; and for this
Court to refrain from "naming individuals" from the CFTC in its findings against the
CFTC itself [384]. The Court otherwise denies the CFTC's motion [384]. Mailed
notice(gel, )




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